Case 3:18-cv-00039-HEH Document 269 Filed 03/06/19 Page 1 of 3 PageID# 7907



                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF VIRGINIA


 HANNAH CRAMER, et al.,

                                       Plaintiffs,
 v.                                                    Case No. 3:18-cv-00039

 ARKESIA, INC. d/b/a CLUB ROUGE, et al.,

                                       Defendants.



                 MOTION TO ENFORCE SETTLEMENT AGREEMENT

       Plaintiffs, by and through undersigned counsel, move to enforce the settlement agreement

in this matter. The bases and context for this Motion are fully set forth in the Memorandum of Law

with supporting Declaration and Exhibits filed in conjunction with this Motion.

       This Motion and the supporting Memorandum and Exhibits are being filed under seal with

hard copies to the Court only, and not on ECF, because the documents reference the Settlement

Agreement which the Court earlier ordered filed under seal. A Motion to Seal is being

contemporaneously filed on the Court’s ECF system.



March 1, 2019



                                                      /s/
                                             Justin P. Keating,
                                             VA Bar #75880

                                             BEINS, AXELROD, P.C.
                                             1717 K Street, N.W.
                                             Suite 1120
                                             Washington, D.C. 20006
                                             202.328.7222
                                             jkeating@beinsaxelrod.com


                                                1
Case 3:18-cv-00039-HEH Document 269 Filed 03/06/19 Page 2 of 3 PageID# 7908



                                  Lloyd R. Ambinder, Esq. (Pro Hac Vice Admission)
                                  LaDonna Lusher, Esq. (Pro Hac Vice Admission)

                                  VIRGINIA & AMBINDER, LLP
                                  40 Broad Street, 7th Floor
                                  New York, New York, 10004
                                  212.943.9080
                                  lambinder@vandallp.com
                                  llusher@vandallp.com

                                  COUNSEL FOR PLAINTIFFS




                                     2
Case 3:18-cv-00039-HEH Document 269 Filed 03/06/19 Page 3 of 3 PageID# 7909



                                      Certificate of Service



I hereby certify that on the 4th day of March, 2018, I sent, by UPS Next Day Air delivery, to the
Clerk of Court the foregoing Motion to Enforce. Because Plaintiffs seek to file this document under
seal, it is filed in hard copy only and in accordance with Local Rule 5’s instructions for filing
documents under seal. A copy has also been sent to the following counsel of record on the 4th day
of March, 2019, by first class mail and e-mail.

       Thomas M. Lucas
       Kristina H. Vaquera
       Milena Radovic
       Jackson Lewis, P.C.
       500 E. Main Street, Suite 800
       Norfolk, Virginia 23510
       (757) 648-1145
       thomas.lucas@jacksonlewis.com
                                                            /s/
                                                    Justin P. Keating




                                                3
